        Case 3:18-cv-00679-BAJ-RLB       Document 12    12/11/20 Page 1 of 2




                      UNITED STATES DISTRICT COURT

                      MIDDLE DISTRICT OF LOUISIANA


 JOSIE Y. MORGAN (#356453) CIVIL ACTION

 VERSUS

 FREDERICK BOUTTE, ET AL. NO. 18-00679-BAJ-RLB

                              RULING AND ORDER

      Before the Court is Petitioner's Petition Under 28 U.S.C. § 2254 For Writ

Of Habeas Corpus By A Person In State Custody (Doc. 1). The Magistrate

Judge has issued a Report and Recommendation (Doc. 10), recommending that


Petitioner s application for habeas corpus relief be denied, and, further, that the

Court deny Petitioner a certificate of appealability. Petitioner objects to the

Magistrate Judge's Report (Doc. 11).

      Having carefully considered Petitioners Petition and related filings-

including Petitioner's objections—the Court APPROVES the Magistrate Judge's

Report and Recommendation and ADOPTS it as the Court's opinion in this matter.

      Accordingly,

      IT IS ORDERED that Petitioner's Petition (Doc. 1) is DENIED.

      IT IS FURTHER ORDERED that a certificate of appealability is DENIED

because Petitioner has failed to mapke] a substantial showing of the denial of a
        Case 3:18-cv-00679-BAJ-RLB        Document 12   12/11/20 Page 2 of 2




constitutional right." 28 U.S.C. § 2253(c)(2).

      Judgment will be entered accordingly.

                                                          /y-
                             Baton Rouge, Louisiana, this day of December, 2020




                                        JUDGE BRIA|?A. JACKSON
                                        UNITED STATt^5T5lSTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA
